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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION



VISUAL INTELLIGENCE LP,

        Plaintiff,                                           Case No. 4:13-cv-02612

v.                                                           Judge Sim Lake

TELEDYNE OPTECH, INC.,

        Defendant.                                           Jury Trial Demanded



     VISUAL INTELLIGENCE LP’S EXPEDITED MOTION TO STAY PROCEEDINGS,
               OR ALTERNATIVELY, TO EXTEND DEADLINES, AND
                    MEMORANDUM IN SUPPORT THEREOF

        Plaintiff Visual Intelligence LP (“VI”) hereby moves for a stay of proceedings, or

alternatively, for an extension of the deadlines in the Second Amended Scheduling Order [Dkt.

No. 85] pending the Court’s resolution of VI’s Motion to Disqualify Counsel for Defendant

Optech, Inc. [Dkt. No. 89] (the “Motion to Disqualify”). Plaintiff VI respectfully requests

expedited consideration of the present motion in view impending expert and discovery deadlines.

        The improper actions of counsel for Defendant Teledyne Optech, Inc. (“Optech”) are

fully detailed in the pending Motion to Disqualify. Through multiple ex parte meetings and

communications, Optech’s counsel have intentionally interfered with the contractual relationship

between VI and one of the inventors of VI’s asserted patents, Mr. Leo J. Peters, III, and they

have thereby denied VI the assistance of Mr. Peters in this lawsuit. Optech’s counsel have also

induced Mr. Peters to disclose to them, without VI’s prior knowledge or authorization, numerous

documents containing VI’s privileged and confidential information. The actions of Optech’s

counsel have severely tainted the administration of justice in this proceeding.

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       Plaintiff VI’s interests should not be further prejudiced by requiring it to continue

litigating against Optech while Optech is represented by its current counsel. For example, VI’s

witnesses should not be forced to submit to depositions conducted by counsel for Optech who

have had access to VI’s privileged information, particularly when those depositions may be used

against VI in future litigation against other infringers of VI’s asserted patents. Plaintiff VI also

should not be forced to incur the potentially unnecessary costs of litigating against Optech while

it is represented by its current counsel, since the proceedings will have to be repeated if the Court

grants the Motion to Disqualify. A stay should be entered to preserve the status quo and to

prevent VI from being further harmed by the improper conduct of Optech’s counsel.

                   NATURE AND STAGE OF THE PROCEEDING

       Plaintiff VI filed this patent infringement case on September 5, 2013, alleging that

Defendant Optech has infringed, and continues to infringe, two of VI’s patents – U.S. Patent No.

7,127,348 (“the ‘348 Patent”) and U.S. Patent No. 7,725,258 (“the ‘258 Patent”). The Court held

a claim construction hearing on January 28, 2015, during which the Court issued rulings

construing some of the disputed claim terms. The Court construed the remaining disputed claim

terms in a Memorandum Opinion on Claim Construction issued on February 26, 2015 [Dkt. No.

65]. Plaintiff VI recently learned the true nature and scope of the improper conduct of Optech’s

counsel and filed the Motion to Disqualify [Dkt. No. 89) on June 16, 2015. Optech filed its

opposition brief on July 7, 2015 [Dkt. No. 95), and VI intends to file a reply. The deadline to

exchange responsive expert reports is currently July 13, 2015, and fact discovery closes on July

24, 2015. No trial date has been set.




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                             STATEMENT OF THE ISSUES

       This motion presents the issue of whether the case should be stayed or, alternatively,

whether the deadlines in the Second Amended Scheduling Order should be extended, pending

the Court’s resolution of VI’s Motion to Disqualify. A district court has wide discretion to stay a

pending matter in order to control its docket and benefit the interests of justice. In re Ramu

Corp., 903 F.2d 312, 318 (5th Cir. 1990); In re Wells Fargo Wage & Hour Empl. Practices Litig.

(No III), 2015 U.S. Dist. LEXIS 14195 at 6 (S.D. Tex., Feb. 6, 2015); Emtel, Inc. v. LipidLabs,

Inc., 2013 U.S. Dist. LEXIS 56312 at 15 (S.D. Tex., April 19, 2015). The decision to grant or

deny a stay “is a matter of judgment and it is reviewed by the Court of Appeals only for abuse of

discretion.” Exxon Corp. v. St. Paul Fire & Marine Ins. Co., 129 F.3d 781, 784 (5th Cir

1997)(citation omitted). In deciding whether to stay litigation, courts usually consider three

factors: “(1) whether a stay will unduly prejudice or present a clear tactical disadvantage to the

nonmoving party; (2) whether a stay will simplify the issues in question and trial of the case; and

(3) whether discovery is complete and whether a trial date has been set.” Mirror Worlds Techs.,

LLC v. Dell Inc., 2014 U.S. Dist. LEXIS 181413 at *5 (E.D. Tex. Sept. 29, 2014) (quoting

Soverain Software, LLC v. Amazon.com, Inc., 356 F.Supp. 2d 660, 662 (E.D. Tex. 2005); Emtel

Inc., v. LipidLabs, Inc., 2013 U.S. Dist. LEXIS 56312 at *14-15, (S.D. Tex. Apr. 19, 2013).


                                         ARGUMENT

       Plaintiff VI’s interests will continue to be prejudiced if the proceedings move forward

with Optech represented by its current counsel. VI’s witnesses should not be forced to submit to

depositions conducted by counsel for Optech who have an unfair advantage since they have had

access to VI’s privileged information. Further, since those depositions may be used in future

litigation against other infringers of the asserted patents, the impact of Optech’s wrongful


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conduct could extend far beyond the current lawsuit if proceedings are not stayed. In addition, if

the case is not stayed, Plaintiff VI will be forced to incur potentially unnecessary costs by

litigating against Optech while it is represented by its current counsel, since the proceedings will

have to be repeated if the Court grants the Motion to Disqualify. In contrast, a stay will not

unduly prejudice Optech or place it in a clear tactical disadvantage.

A.      Plaintiff VI will be Prejudiced in the Absence of a Stay

        1.      Plaintiff VI’s witnesses should not be forced to submit to depositions
                conducted by counsel who have an unfair advantage.
        As noted in VI’s Motion to Disqualify and briefly addressed below, Optech’s counsel,

Goldman Ismail, has severely tainted the administration of justice in these proceedings. As fact

and expert discovery continues in this case, VI’s witnesses are being forced to submit to

depositions conducted by Optech’s current counsel, who have an unfair advantage since they

have had access to VI’s privileged information. VI’s interests are severely prejudiced in these

circumstances since the depositions could be used against VI in future litigation against other

infringers of the asserted patents. Thus, the improper conduct of Optech’s current counsel could

further taint future litigation unless a stay is granted.

        Three days after VI filed its Motion to Disqualify, Optech’s current counsel, Goldman

Ismail, served six deposition notices1 on VI witnesses and wishes to take those depositions by the

close of fact discovery on July 24, 2015. If the stay is not granted, VI’s witness will likely be

forced to submit to the depositions. In addition, after VI filed its Motion to Disqualify, Optech’s

counsel served additional interrogatories2 and requests for production3 upon VI. VI’s witnesses




1
  Exhibits A1-A6
2
  Exhibit A7
3
  Exhibit A8.
                                                    4
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should not be forced to submit expert reports or submit to depositions while Optech is

represented by counsel who have an unfair advantage.

       2.      Plaintiff VI should not be forced to incur unnecessary litigation costs.
       If the Court grants VI’s Motion to Disqualify, Optech’s replacement counsel will conduct

its own discovery, thereby making further discovery by Optech’s current counsel duplicative and

requiring VI to incur further unnecessary costs. First, as noted above, shortly after VI filed its

Motion to Disqualify, Optech’s counsel served six deposition notices4 on VI witnesses and

wishes to take those depositions by the close of fact discovery. If the stay is not granted, VI will

be forced to move forward with the depositions. However, if the Court grants the Motion to

Disqualify, those depositions would need to be retaken by Optech’s replacement counsel, which

would double the costs to VI and would be a substantial inconvenience to the witnesses.

       Second, Goldman Ismail has requested to inspect VI’s products.5 While VI has made

arrangements for the inspection,6 VI employees as well as VI’s counsel would need to attend the

inspection. If they Court grants the Motion to Disqualify, VI’s products would likely need to be

re-inspected, which would again duplicate efforts and costs.

       Third, after VI filed its Motion to Disqualify, Goldman Ismail sought additional

discovery and served additional interrogatories7 and requests for production8 upon VI.

Investigation and preparation of responses by VI will also run up additional costs, all of which

may be for naught should the Court grant VI’s pending Motion to Disqualify.




4
  Exhibits A1-A6.
5
  Exhibit A9.
6
  Exhibit A10.
7
  Exhibit A7.
8
  Exhibit A8.
                                                 5
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B.     Defendant Optech Would Not Be Prejudiced by a Stay

       While a stay is needed to preserve the status quo and prevent further prejudice to VI,

there is nothing to indicate that Defendant Optech would be prejudiced by a stay. An extension

of the deadlines in the scheduling order pending the Court’s resolution of the Motion to

Disqualify also would not prejudice Optech.

       While Optech may argue that it is somehow burdened by a delay in the litigation, courts

routinely hold that such delays do not, without more, unduly prejudice a litigant. See, e.g.,

AT&T Intellectual Property I v. Tivo, Inc., 774 F.Supp.2d 1049, 1054, (N.D. Cal. Mar. 1, 2011)

(explaining that stays during reexamination, for example, do not, by themselves, constitute undue

prejudice). Further, any burden imposed on Optech by a stay or extension of deadlines certainly

would not be unduly prejudicial since the wrongful conduct giving rise to the Motion to

Disqualify was committed by Optech’s counsel.

C.     A Stay would Not Negatively Impact the Court’s Trial Docket

       Courts are generally more inclined to grant a stay where the Court’s schedule is not

substantially affected, such as when a trial date has not been set. In the reexamination context,

litigation is often stayed in this district while a disputed patent is undergoing reexamination at

the United States Patent & Trademark Office. See, e.g., Emtel, Inc., v. LipidLabs, Inc., 2013

U.S. Dist. LEXIS 56312 at *18-19 (S.D. Tex., Apr. 19, 2013); Ascend Geo, LLC v. OYO

Geospace Corp., 2009 U.S. Dist. LEXIS 115561 (S.D. Tex., Dec. 11, 2009).                 While a

reexamination context does not involve disqualification of counsel, the issues raised in the

Motion to Disqualify demonstrate that the prejudice to VI substantially outweighs any prejudice

to the Optech, and a stay would not have an adverse impact on the Court’s docket as a trial date

has not been set.


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                             CONCLUSION AND PRAYER

       For all of the foregoing reasons, Plaintiff VI respectfully asks the Court to stay the

present case pending the Court’s resolution of VI’s Motion to Disqualify. In the alternative, if

the Court declines to stay the case, VI respectfully asks the Court to extend the deadlines in the

Second Amended Scheduling Order pending resolution of the Motion to Disqualify. This motion

is accompanied by a proposed order staying proceedings in this case.

Dated: July 13, 2015.                               Respectfully submitted,

                                                /s/ Steven E. Ross
                                                Steven E. Ross
                                                Attorney-in-Charge
                                                Texas Bar No. 17305500
                                                (Pro Hac Vice)
                                                Scott C. Sample
                                                Texas Bar No. 24027952
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                                                ssample@rossjoynerlaw.com

                                                ATTORNEYS FOR PLAINTIFF
                                                VISUAL INTELLIGENCE LP


                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that he conferred with counsel for Defendant Optech,
Inc. on June 10, 2015, regarding this motion and the relief requested herein. Counsel for
Defendant Optech, Inc. stated that Optech will oppose this motion.


                                                    /s/ Steven E. Ross
                                                    Steven E. Ross




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                               CERTIFICATE OF SERVICE

        In accordance with Federal Rule of Civil Procedure 5 and Local Rule 5, I hereby certify
that all counsel of record who are deemed to have consented to electronic service are being
served with a copy of this document through the Court’s CM/ECF system on July 13, 2015.


                                                  /s/ Steven E. Ross
                                                  Steven E. Ross




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                                    LIST OF EXHIBITS

Exhibit Description
A       Declaration of Steven E. Ross in Support of Visual Intelligence Lp’s Expedited
        Motion To Stay Proceedings, or Alternatively, Extend Deadlines, and
        Memorandum In Support Thereof
A1       Subpoena issued on June 24, 2015 by Optech to R. Bradford Perry
A2       Deposition notice issued on June 24, 2015 by Optech to Armando Guevara
A3       Deposition notice issued on June 24, 2015 by Optech to Jay Tilley
A4       Deposition notice issued on June 24, 2015 by Optech to Joe McCoy
A5       Deposition notice issued on June 24, 2015 by Optech to Kevin Brown
A6       Deposition notice issued on June 24, 2015 by Optech to Phil Kern
A7       Optech's Fifth Set of Interrogatories to Visual Intelligence served June 24, 2015
A8       Optech’s Fourth Set of Requests for Production to Visual Intelligence served June
         24, 2015
A9       Optech’s Notice of Inspection of Visual Intelligence LP served May 22, 2015
A10      Email dated June 9, 2015 from Optech’s Counsel, Doug Winnard to Steven E. Ross
         and other attorneys involved in this litigation.




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